 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 1 of 44 Page ID #:1



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 6
     Attorneys for Appellee,
 7 HOUSER BROS. CO. DBA RANCHO
     DEL REY MOBILE HOME ESTATES
 8
                              UNITED STATES DISTRICT COURT
 9
                             CENTRAL DISTRICT OF CALIFORNIA
10
     In re                                        USDC Case No. 8:22-cv-01454-ODW
11
     JAMIE LYNN GALLIAN,                          Chapter 7
12
                   Debtor.                        USBC Case No.: 8:21-bk-11710-ES
13
                                                  APPELLEE’S OPPOSITION TO
14 JAMIE LYNN GALLIAN,                            APPELLANT’S MOTION TO
                                                  ALLOW RECONSIDERATION
15                       Appellant,               MOTION TO PROCEED AT
     v.                                           BANKRUPTCY COURT
16
     HOUSER BROS. CO; HUNTINGTON                  Judge:   Hon. Otis D. Wright, II
17 BEACH GABLES HOMEOWNERS                        Ctrm:    5D
     ASSOCIATION,
18
                         Appellee(s).
19

20           TO THE HONORABLE OTIS D. WRIGHT, IU, UNITED STATES
21 DISTRICT COURT JUDGE, AND ALL INTERESTED PARTIES

22           Appellee, Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates
23 (“Houser Bros.”), files this opposition (“Opposition”) to Appellant’s Notice of

24 Motion and Motion for Leave from the Bankruptcy Appeal Panel to Permit the

25 Bankruptcy Court to Consider Debtor’s Motion for Re-Consideration [Doc 157] on

26 August 18, 2022 (“BAP Leave Motion”), filed in the Bankruptcy Appellate Panel

27 (BAP Case No. 22-1146) by Jamie Lynn Gallian (“Appellant” and/or “Debtor”) on

28 August 2, 2022, as Dk. No. 2. This case is now before this Court because Appellee

                                              1
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 2 of 44 Page ID #:2




 1 filed a timely election to have the appeal heard by the District Court.

 2   1.   Summary of Argument
 3        An appeal generally divests a trial court of jurisdiction to consider matters
 4 related to the appealed order. In this case, Debtor filed a notice of appeal regarding the

 5 Bankruptcy Court’s ruling sustaining Houser Bros.’s objection to exemption.

 6 Subsequently, Debtor filed a motion for reconsideration. Apparently realizing that the

 7 trial court lacks jurisdiction to consider the motion for reconsideration, Debtor filed

 8 the subject motion in the Bankruptcy Court and with the Bankruptcy Appellate Panel

 9 asking for leave to have the reconsideration motion decided.

10        The motion fails to cite any authority for how this Court can grant the requested
11 relief. Debtor has not filed any motion for indicative ruling. As such, there is nothing

12 before this Court upon which it could grant a limited remand. Moreover, Appellee

13 offered to enter a stipulation to dismiss the appeal without prejudice to re-filing within

14 14 days after entry of an order on her motion for reconsideration. She declined to enter

15 such a stipulation and instead filed this motion. Because the Motion fails to cite any

16 supporting authority and does not satisfy the requirements for a limited remand,

17 Houser Bros. respectfully requests that the Court deny the Motion.

18   2.   Factual Background
19        A.   Bankruptcy Case
20        On July 9, 2021 (“Petition Date”), Debtor filed a voluntary petition under
21 Chapter 7 of Title 11 of the United States Code. A true and correct copy of the

22 CM/ECF docket in the bankruptcy case is attached to the Declaration of D. Edward

23 Hays (“Hays Declaration”) as Exhibit 1.

24        On May 12, 2022, Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
25 (“Houser Bros.”) filed a “Motion Objecting to Debtor’s Claimed Homestead

26 Exemption” (“Homestead Motion”). Docket No. 95. The Motion was set for hearing

27 on June 2, 2022, at 10:30 a.m. Docket No. 99.

28

                                               2
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 3 of 44 Page ID #:3




 1        On June 1, 2022, the day prior to the hearing, Debtor filed an untimely “Reply
 2 Opposition, Memorandum of Points and Authorities to Houser Bros. Co. dba Rancho

 3 Del Rey Mobile Home Estates’ Motion Objecting to Debtor’s Claimed Homestead

 4 Exemption and Joinder Parties Huntington Beach Gables HOA; Janine Jasso”

 5 (“Homestead Opposition”). Docket No. 105.

 6        On June 2, 2022, at 10:30 a.m., the Court conducted a hearing on the
 7 Homestead Motion. Before the hearing, the Court published a tentative ruling to

 8 continue the hearing on the Homestead Motion to July 21, 2022, at 10:30 a.m. to

 9 allow Houser Bros. and the Joining Parties to file a reply to Debtor’s late opposition.

10        On July 7, 2022, Houser Bros. filed its “Reply to Debtor’s Opposition to
11 Motion Objecting to Claimed Homestead Exemption” (“Houser Bros. Homestead

12 Reply”) and related documents. See, Bankruptcy Court Dk. Nos. 130-134;1

13        Before the July 21, 2022, hearing, the Court published a tentative ruling to grant
14 the Motion (“July 21 TR”).

15        On July 21, 2022, at 10:30 a.m., the Court held a continued hearing on the
16 Motion. During the hearing, the Court orally granted the Homestead Motion for the

17 reasons stated in its tentative ruling.

18        On July 21, 2022, Debtor filed a “Notice of Appeal and Statement of Election”
19 (“Notice of Appeal”) regarding a “7/21/2022 Order Denying Debtors [sic] Declared

20 Homestead and Debtors [sic] Homeowners Exemption Effective February 25, 2021

21 with the Orange County Tax Assessor Pursuant to California Department of Housing

22 and Community Development Certificate of Title Perfected February 25, 2021.”

23 Docket No. 143.

24        Debtor’s appeal was referred to the Bankruptcy Appellate Panel (“BAP”) based
25 on Debtor’s election, and was assigned BAP Case No. 22-1146 (“BAP Appeal”).

26

27
    On July 20, 2022, Houser Bros. also filed a “Notice of Lodgment of Excerpts of Certified
     1

28 Transcript in Support of Reply to Debtor’s Opposition to Motion Objecting to Claimed Homestead
   Exemption.” Docket No. 138.
                                                    3
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 4 of 44 Page ID #:4




 1 Docket No. 161. A true and correct copy of the CM/ECF Docket in the BAP Appeal is

 2 attached to the Hays Declaration as Exhibit 2.

 3       On July 26, 2022, Debtor filed a “Motion for Reconsideration of 7.21.22 Order
 4 Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile Home Estates Objection

 5 to Debtor’s Claimed Homestead Exemption and Joinder Parties Huntington Beach

 6 Gables HOA; Janine Jasso” (“Reconsideration Motion”). Docket No. 157.

 7       On July 28, 2022, Debtor filed a “Notice of Appeal and Statement of Election”
 8 regarding a “TENTATIVE RULING 7/21/2022, UPDATED 7/22/2022 5:46:01PM,

 9 HONORABLE EDITHE [sic] A. SMITH SUSTAINING HOUSER BROS CO DBA

10 RANCHO DEL REY MOBILEHOME ESTATES OBJECTION TO DEBTOR’S

11 CLAIMED AND DECLARED HOMESTEAD EXEMPTION ON FILE ORANGE

12 COUNTY TAX ASSESSOR EFFECTIVE 2/25/2021, PRIOR TO THE PETITION

13 FOR CHAPTER 7 PETITION.” Docket No. 161 (capitalization in original).

14       On August 1, 2022, Debtor filed a “Motion for Leave from the Bankruptcy
15 Appellate Panel to Permit the Bankruptcy Court to Consider Debtor’s Motion for Re-

16 Consideration [Doc 157] on August 18, 2022” (“BK Leave Motion,” and together

17 with the BAP Leave Motion, the “Leave Motions”). Docket No. 167. Debtor’s BK

18 Leave Motion was not set for hearing. The BK Leave Motion is identical to this

19 Motion.

20       On August 2, 2022, Houser Bros. filed an “Optional Appellee Statement of
21 Election to Proceed in District Court.” Docket No. 168.

22       On August 4, 2022, Debtor filed a “Notice of Appeal and Statement of
23 Election” regarding a “Ruling 7/21/2022, Bankruptcy Court sustained Interested party,

24 Houser Bros dba Rancho Del Rey Mobilehome Estates and joinder’s objection to

25 Debtor’s Declared Homestead and Debtor’s Homestead Election.” Docket No. 169.

26       On August 4, 2022, Houser Bros. filed a “Response to Debtor’s Notice of and
27 Motion for Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA

28 Rancho Del Rey Mobile Home Estate’s Objection to Debtor’s Claimed Homestead

                                             4
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 5 of 44 Page ID #:5




 1 Exemption” (“Reconsideration Opposition”). Docket No. 170. In the Reconsideration

 2 Opposition, Houser Bros. noted that the bankruptcy court lacks jurisdiction to decide

 3 the motion for reconsideration on the merits given the pending appeal.

 4        On August 5, 2022, the Court entered its formal “Order Granting Houser Bros.
 5 Co. DBA Rancho Del Rey Mobile Home Estates’s Motion Objecting to Debtor’s

 6 Claimed Homestead Exemption in 16222 Monterey Lane, Space #376, Huntington

 7 Beach, CA 92649, Docket No. 95.” Docket No. 177.

 8        B.     BAP Leave Motion
 9        On August 2, 2022, Debtor filed the BAP Leave Motion. BAP Appeal Docket
10 No. 2. The BAP Leave Motion appears to be the same as the BK Leave Motion given

11 that the Bankruptcy Court filing stamp appears at the top of the BAP Leave Motion.

12 Because Appellee filed its election to have the appeal heard by the District Court, the

13 Motion is now before this Court for decision.

14   3.   Legal Argument
15        A.  The Bankruptcy Court lacks jurisdiction to rule on the
16            Reconsideration Motion.
17        A notice of appeal divests the district court of jurisdiction over matters related
18 to the appeal. Coastal Delivery Corp. v. U.S. Customs Serv., 272 F.Supp.2d 958, 966-

19 67 (C.D. Cal. 2003) (citing Smith v. Lujan, 588 F.2d 1304 (9th Cir. 1979)); see also In

20 re Wavelength, Inc., 61 B.R. 614, 618 (9th Cir. BAP 1986) (noting that the bankruptcy

21 court did not have jurisdiction to rule on a Rule 60(b) motion for reconsideration after

22 the notice of appeal from the underlying order had been filed). In the Ninth Circuit, a

23 trial court “does not have jurisdiction at all” to act on a Rule 60(b) motion once a

24 notice of appeal has been filed. Coastal Delivery, 272 F.Supp.2d at 677. The “proper

25 procedure” is for a plaintiff to ask the trial court to indicate if it wished to entertain the

26 motion, or to grant it, and then (if the plaintiff thinks it appropriate) it could move the

27 appellate court for remand of the case. Id.

28

                                                 5
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 6 of 44 Page ID #:6




 1       Here, Debtor filed the Notice of Appeal regarding the Court’s decision to grant
 2 the Homestead Motion on July 21, 2022. Docket No. 143. She filed the

 3 Reconsideration Motion, however, five days later. Docket No. 157. The Notice of

 4 Appeal divested the Bankruptcy Court of jurisdiction over matters related to the

 5 appeal, including the Reconsideration Motion.

 6       B.      Debtor failed to request or obtain an indicative ruling which
 7               would be required before any remand is appropriate
 8       Debtor further has not followed the proper procedure for an indicative ruling.
 9 Local Bankruptcy Rule 8000-1, “Rules Applicable to Bankruptcy Appeals,” provides

10 that all bankruptcy appeals are subject to Rules 8001 through 8028 of the Federal

11 Rules of Bankruptcy Procedure (“FRBP”). Loc. Bankr. R. 8000-1(a). And, FRBP

12 8008, “Indicative Rulings,” provides:

13       (a) Relief Pending Appeal. If a party files a timely motion in the
         bankruptcy court for relief that the court lacks authority to grant because
14       of an appeal that has been docketed and is pending, the bankruptcy court
         may:
15
              (1) defer considering the motion;
16            (2) deny the motion; or
              (3) state that the court would grant the motion if the court where the
17            appeal is pending remands for that purpose, or state that the motion
              raises a substantial issue.
18
         (b) Notice to the Court Where the Appeal Is Pending. The movant must
19       promptly notify the clerk of the court where the appeal is pending if the
         bankruptcy court states that it would grant the motion or that the motion
20       raises a substantial issue.
21       (c) Remand After an Indicative Ruling. If the bankruptcy court states that
         it would grant the motion or that the motion raises a substantial issue, the
22       district court or BAP may remand for further proceedings, but it retains
         jurisdiction unless it expressly dismisses the appeal. If the district court
23       or BAP remands but retains jurisdiction, the parties must promptly notify
         the clerk of that court when the bankruptcy court has decided the motion
24       on remand.
25       Debtor has not asked the Bankruptcy Court to indicate if it wished to entertain
26 the Reconsideration Motion, or to grant it. She instead filed the Leave Motions, in

27 which she prays that:

28

                                              6
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 7 of 44 Page ID #:7



           [T]he Motion for an Order imposing a STAY against all creditors and
 1         Trustee Jeffrey Golden, any and all actions, pending actions by the
           Trustee Jeffrey Golden and/or any and all Creditors or Interest [sic]
 2         Parties without a Court Order from this Court upon proper Motion AND
           Notice to Debtor and an opportunity to respond, Debtors Motion for
 3         Reconsideration denying Debtors Homestead Exemption on 7/21/2022.
           [sic] has been noticed and is currently set for hearing August 18, 2022,
 4         10:30A in Department 5A of this Court. BK Leave Motion at 4; BAP
           Leave Motion at 4.
 5
           Further, although Debtor claims that “California has a policy of great liberality
 6
     in granting Leave of Court in the absence of prejudice to the adverse party,” BK
 7
     Leave Motion at 5, BAP Leave Motion at 5, she cites no authority. In fact, the Leave
 8
     Motions cite no authority at all to show that Debtor’s requested relief is appropriate.
 9
     4.    Conclusion
10
           Because the Motion is not supported by authority and is not the proper
11
     procedure for obtaining the relief sought by Appellant, Houser Bros. respectfully
12
     requests that the Court deny the Motion.
13

14
     DATED: August 9, 2022                MARSHACK HAYS LLP
15

16                                                /s/ D. Edward Hays
                                         By:
17                                              D. EDWARD HAYS
                                                LAILA MASUD
18                                              BRADFORD N. BARNHARDT
                                                Attorneys for Movant and Creditor,
19                                              HOUSER BROS. CO. dba RANCHO
                                                DEL REY MOBILE HOME
20                                              ESTATES
21

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 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 8 of 44 Page ID #:8




 1                           Declaration of D. Edward Hays
 2        I, D. EDWARD HAYS, say and declare as follows:
 3        1.      I am an individual over 18 years of age and competent to make this
 4 Declaration.

 5        2.      If called upon to do so, I could and would competently testify as to the
 6 facts set forth in this Declaration.

 7        3.      The facts set forth below are true of my personal knowledge.
 8        4.      I am an attorney at law duly admitted to practice before this Court and all
 9 courts of the State of California.

10        5.      I am a partner in the law firm of Marshack Hays LLP, attorneys of record
11 for Houser Bros. Co., dba Rancho Del Rey Mobile Home Estates (“Houser Bros.”).

12        6.      I make this Declaration in support of Houser Bros.’s Opposition to
13 Debtor’s Notice of Motion and Motion for Leave from the Bankruptcy Appeal Panel

14 to Permit the Bankruptcy Court to Consider Debtor’s Motion for Re-Consideration

15 [Doc 157] on August 18, 2022 (“Opposition”). All capitalized terms not otherwise

16 defined in this Declaration shall have the meaning ascribed to them in the Opposition.

17        7.      A true and correct copy of the CM/ECF Docket in this case is attached as
18 Exhibit 1.

19        8.      A true and correct copy of the CM/ECF Docket in the BAP Appeal is
20 attached as Exhibit 2.

21        9.      On July 27, 2022, I e-mailed Debtor to inform her that the pending
22 appeal deprives the Bankruptcy Court of jurisdiction to decide her Reconsideration

23 Motion. I offered to enter a stipulation for the appeal to be dismissed without

24 prejudice and which specifically provided that Debtor’s time to appeal the original

25 order and any order on reconsideration would be 14 days from entry of the order on

26 reconsideration pursuant to FRBP 8002(b). A true and correct copy of my July 27,

27 2022, e-mail to Debtor is attached as Exhibit 3.

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                                                8
 Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 9 of 44 Page ID #:9




 1        10.    On July 28, 2022, I spoke with Debtor by phone about the proposed
 2 stipulation to dismiss the appeal so that the Court could decide the Reconsideration

 3 Motion on the merits.

 4        11.    On July 31, 2022, I sent Debtor a text message asking her to advise if she
 5 will agree to dismiss the appeal without prejudice and reserving the right to re-file it if

 6 the Bankruptcy Court does not reconsider its ruling. A true and correct copy of my

 7 July 31, 2022, text message to Debtor is attached as Exhibit 4.

 8        12.    Debtor has refused to enter the requested stipulation and instead filed the
 9 Leave Motions in the bankruptcy court and this Court.

10    I declare under penalty of perjury that the foregoing is true and correct. Executed
11 on August 9, 2022.

12
                                            /s/ D. Edward Hays
13                                          D. EDWARD HAYS
14

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Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 10 of 44 Page ID #:10




                                                   EXHIBIT 1
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 11 of 44 Page ID #:11

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

                                                                                          727OBJ, NODISCH, APLDIST, APPEAL


                                                   U.S. Bankruptcy Court
                                          Central District of California (Santa Ana)
                                          Bankruptcy Petition #: 8:21-bk-11710-ES
                                                                                                              Date filed:   07/09/2021
 Assigned to: Erithe A. Smith                                                                              341 meeting:     04/29/2022
 Chapter 7                                                                                   Deadline for filing claims:    10/25/2022
                                                                                     Deadline for filing claims (govt.):    01/05/2022
 Voluntary
                                                                                   Deadline for objecting to discharge:     10/18/2021
 Asset                                                                             Deadline for financial mgmt. course:     10/18/2021




 Debtor                                                                            represented by Jamie Lynn Gallian
 Jamie Lynn Gallian                                                                               PRO SE
 16222 Monterey Ln Unit 376
 Huntington Beach, CA 92649                                                                            Bert Briones
 ORANGE-CA                                                                                             Red Hill Law Group
 714-321-3449                                                                                          15615 Alton Parkway
 SSN / ITIN: xxx-xx-3936                                                                               Suite 210
 aka Jamie L Gallian                                                                                   Irvine, CA 92618
 dba J-Sandcastle Co, LLC                                                                              888-733-4455
 dba J-PAD, LLC                                                                                        Fax : 714-733-4450
                                                                                                       Email: bb@redhilllawgroup.com
                                                                                                       TERMINATED: 08/09/2022

 Trustee                                                                           represented by Aaron E DE Leest
 Jeffrey I Golden (TR)                                                                            Danning, Gill, Israel & Krasnoff,
 Weiland Golden Goodrich LLP                                                                      LLP
 P.O. Box 2470                                                                                    1901 Avenue of the Stars
 Costa Mesa, CA 92628-2470                                                                        Suite 450
 (714) 966-1000                                                                                   Los Angeles, CA 90067-6006
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                                                                                                  Fax : 310-277-5735
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                                                                                                       Eric P Israel
                                                                                                       Danning Gill Israel & Krasnoff,
                                                                                                       LLP
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                                                                                                       Los Angeles, CA 90067-6006
                                                                                                       310-277-0077
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                                                                                                       Email: eisrael@DanningGill.com

 U.S. Trustee
 United States Trustee (SA)
 411 W Fourth St., Suite 7160
 Santa Ana, CA 92701-4593
 (714) 338-3400

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  1/23




                                                                                                        EXHIBIT 1, PAGE 10
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 12 of 44 Page ID #:12

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

     Filing Date                           #                                                    Docket Text

                                       1                      Chapter 7 Voluntary Petition for Individuals . Fee Amount $338 Filed by
   07/09/2021                          (60 pgs)               Jamie Lynn Gallian (Nguyen, Vi) (Entered: 07/09/2021)

                                       2                      Statement About Your Social Security Number (Official Form 121) Filed
   07/09/2021                                                 by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                       3                      Certificate of Credit Counseling Filed by Debtor Jamie Lynn Gallian .
   07/09/2021                          (1 pg)                 (Nguyen, Vi) (Entered: 07/09/2021)

                                       4                      Declaration by Debtor as to Whether Debtor(s) Received Income From an
                                       (2 pgs)                Employer Within 60 Days of Petition (LBR Form F1002-1) Filed by
   07/09/2021                                                 Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                       5                      Meeting of Creditors with 341(a) meeting to be held on 8/18/2021 at 09:00
                                       (3 pgs)                AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. for Debtor and Joint Debtor (if joint case)
                                                              Cert. of Financial Management due by 10/18/2021. Last day to oppose
                                                              discharge or dischargeability is 10/18/2021. (Scheduled Automatic
   07/09/2021                                                 Assignment, shared account) (Entered: 07/09/2021)

                                       6                      Debtor's Request to Activate Electronic Noticing (DeBN) Filed by Debtor
   07/09/2021                                                 Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                                              Receipt of Chapter 7 Filing Fee - $338.00 by 16. Receipt Number
   07/09/2021                                                 80075587. (admin) (Entered: 07/09/2021)

                                       7                      BNC Certificate of Notice (RE: related document(s)5 Meeting
                                       (5 pgs)                (AutoAssign Chapter 7)) No. of Notices: 36. Notice Date 07/11/2021.
   07/11/2021                                                 (Admin.) (Entered: 07/11/2021)

                                       8                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Smith,
   07/12/2021                          (1 pg)                 Valerie. (Smith, Valerie) (Entered: 07/12/2021)

                                       9                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Mellor,
   07/13/2021                          (1 pg)                 Mark. (Mellor, Mark) (Entered: 07/13/2021)

                                       10                     Personal Financial Management Course Certificate for Debtor 1 (Official
   07/26/2021                          (1 pg)                 Form 423) (Lazar, Orsolya) (Entered: 07/26/2021)

                                       11                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 9/22/2021 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   08/18/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 08/18/2021)

                                       12                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   08/18/2021                                                 Jeffrey) (Entered: 08/18/2021)

                                       13                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Masud,
   08/23/2021                          (1 pg)                 Laila. (Masud, Laila) (Entered: 08/23/2021)

   08/23/2021                          14                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays, D.
                                       (1 pg)                 (Hays, D) (Entered: 08/23/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  2/23




                                                                                                        EXHIBIT 1, PAGE 11
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 13 of 44 Page ID #:13

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)



                                       15                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (29 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Individual:
                                                              Your Codebtors (Official Form 106H or 206H) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) , Chapter 7 Statement of Your Current Monthly Income
                                                              (Official Form 122A-1) (BNC Option) Filed by Debtor Jamie Lynn
   09/07/2021                                                 Gallian . [EDB] (Law, Tamika) (Entered: 09/07/2021)

                                       16                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (29 pgs)               206A/B) , FIRST AMENDMENT Amended Schedule C: The Property
                                                              You Claimed as Exempt (Official Form 106C) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Amended Schedule G
                                                              Individual: Executory Contracts and Unexpired Leases (Official Form
                                                              106G or 206G) , Amended Statement of Financial Affairs for Individual
                                                              Filing for Bankruptcy (Official Form 107 or 207) ,Amended Statement of
                                                              Intention for Individuals Filing Under Chapter 7 (Official Form 108) ,
                                                              Amended Statement of Related Cases (LBR Form 1015-2.1) , Amended
                                                              Chapter 7 Statement of Your Current Monthly Income (Official Form
                                                              122A-1) (BNC Option) , Proof of service Filed by Debtor Jamie Lynn
   09/22/2021                                                 Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                       17                     Amending Schedules (D) and (E/F) ,Amended List of Creditors (Master
                                       (15 pgs)               Mailing List of Creditors) , Amended Verification of Master Mailing List
                                                              of Creditors (LBR Form F1007-1), Proof of Service. Filed by Debtor
   09/22/2021                                                 Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                       18                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/6/2021 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   09/22/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 09/22/2021)

                                       19                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   09/22/2021                                                 Jeffrey) (Entered: 09/22/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
   09/22/2021                                                 80075677. (admin) (Entered: 09/22/2021)

                                       20                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/14/2021 at 03:00 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/07/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 10/07/2021)

                                       21                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   10/07/2021                                                 Jeffrey) (Entered: 10/07/2021)

   10/14/2021                          22                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (31 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Amending Schedules (D) (E/F) , Schedule G
                                                              Individual: Executory Contracts and Unexpired Leases (Official Form
                                                              106G or 206G) , Schedule H Individual: Your Codebtors (Official Form

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  3/23




                                                                                                        EXHIBIT 1, PAGE 12
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 14 of 44 Page ID #:14

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              106H or 206H) , Statement of Intention for Individuals Filing Under
                                                              Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian
                                                              . (Law, Tamika) (Entered: 10/14/2021)

                                       23                     Notice of Deficiency of Filing Fees Required to Add Additional Creditors
                                       (1 pg)                 (BNC) (RE: related document(s)22 Schedule A/B: Property (Official Form
                                                              106A/B or 206A/B) filed by Debtor Jamie Lynn Gallian, Schedule C: The
                                                              Property You Claimed as Exempt (Official Form 106C), Amending
                                                              Schedules D and/or E/F (Official Form 106D, 106E/F, 206D, or 206E/F)
                                                              (Fee), Schedule G: Executory Contracts and Unexpired Leases (Official
                                                              Form 106G or 206G), Schedule H: Your Codebtors (Official Form 106H
                                                              or 206H), Statement of Intention for Individuals Filing Under Chapter 7
   10/14/2021                                                 (Official Form B8, or 108)) (Law, Tamika) (Entered: 10/14/2021)

                                       24                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 11/10/2021 at 03:00 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/15/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 10/15/2021)

                                       25                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   10/15/2021                                                 Jeffrey) (Entered: 10/15/2021)

                                       26                     BNC Certificate of Notice (RE: related document(s)23 Notice of
                                       (3 pgs)                Deficiency of Filing Fees Required to Add Additional Creditors (BNC))
                                                              No. of Notices: 1. Notice Date 10/16/2021. (Admin.) (Entered:
   10/16/2021                                                 10/16/2021)

                                       27                     Adversary case 8:21-ap-01095. Complaint by The Huntington Beach
                                       (74 pgs; 2 docs)       Gables Homeowners Association against Jamie Lynn Gallian , Randall L
                                                              Nickel . Fee Amount $350 (Attachments: # 1 Adv Cover Sheet) Nature of
                                                              Suit: (41 (Objection / revocation of discharge - 727(c),(d),(e))) ,(21
                                                              (Validity, priority or extent of lien or other interest in property)) ,(62
                                                              (Dischargeability - 523(a)(2), false pretenses, false representation, actual
   10/18/2021                                                 fraud)) (Law, Tamika) (Entered: 10/18/2021)

                                       28                     Adversary case 8:21-ap-01096. Complaint by Janine Jasso against Jamie
                                       (93 pgs; 2 docs)       Lynn Gallian . Fee Amount $350 (Attachments: # 1 Adv Cover Sheet)
                                                              Nature of Suit: (41 (Objection / revocation of discharge - 727(c),(d),(e))) ,
                                                              (65 (Dischargeability - other)) ,(13 (Recovery of money/property - 548
                                                              fraudulent transfer)) ,(62 (Dischargeability - 523(a)(2), false pretenses,
                                                              false representation, actual fraud)) - Original not signed - (Law, Tamika)
   10/18/2021                                                 (Entered: 10/18/2021)

                                       29                     Stipulation By Jeffrey I Golden (TR) and Stipulation to Extend Time to
                                       (3 pgs)                File a Complaint Objecting to Debtors Discharge Pursuant to 11 U.S.C. §
                                                              727 and Federal Rule of Bankruptcy Procedure 4004 (with Proof of
                                                              Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR), Jeffrey)
   10/18/2021                                                 (Entered: 10/18/2021)

   10/18/2021                          30                     Adversary case 8:21-ap-01097. Complaint by Houser Bros. Co., a
                                       (25 pgs; 2 docs)       California general partnership against Jamie Lynn Gallian. Fee Amount
                                                              $350 Complaint to (1) Determine Dischargeability of Debt Pursuant to 11
                                                              U.S.C. Sections 523 (a)(2)(A) and (a)(6); (2) Deny Discharge Pursuant to
                                                              11 U.S.C. Sections 727 (a)(2)(A), (a)(4), and (a)(5) (Attachments: # 1
                                                              Adversary Proceeding Cover Sheet) Nature of Suit: (62 (Dischargeability -
                                                              523(a)(2), false pretenses, false representation, actual fraud)),(68

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                                                                                                        EXHIBIT 1, PAGE 13
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 15 of 44 Page ID #:15

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              (Dischargeability - 523(a)(6), willful and malicious injury)),(65
                                                              (Dischargeability - other)) (Masud, Laila) (Entered: 10/18/2021)

                                       31                     Order Approving Stipulation to Extend Time to File a Complaint
                                       (2 pgs)                Objecting to Debtor's Discharge Pursuant to 11 U.S.C. Section 727 and
                                                              Federal Rule of Bankruptcy Procedure 4004. The Deadline for the Trustee,
                                                              or United States Trustee, to file a Complaint Objecting to the Debtor's
                                                              Discharge under 11 U.S.C. Section 727 is Extended to and Including
                                                              November 17, 2021 (BNC-PDF) (Related Doc # 29 ) Signed on
   10/19/2021                                                 10/19/2021 (Duarte, Tina) (Entered: 10/19/2021)

                                       32                     Debtor's Request to Activate Electronic Noticing (DeBN) Filed by Debtor
   10/20/2021                                                 Jamie Lynn Gallian [EDB] (Law, Tamika) (Entered: 10/20/2021)

                                       33                     BNC Certificate of Notice - PDF Document. (RE: related document(s)31
                                       (4 pgs)                Order on Motion to Extend Time (Generic) (BNC-PDF)) No. of Notices:
   10/21/2021                                                 1. Notice Date 10/21/2021. (Admin.) (Entered: 10/21/2021)

                                       34                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 12/1/2021 at 11:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   11/10/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 11/10/2021)

                                       35                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   11/10/2021                                                 Jeffrey) (Entered: 11/10/2021)

                                       36                     Declaration by Debtor as to Whether Debtor(s) Received Income From an
                                       (2 pgs)                Employer Within 60 Days of Petition (LBR Form F1002-1) [EDB] Filed
   11/16/2021                                                 by Debtor Jamie Lynn Gallian . (Law, Tamika) (Entered: 11/17/2021)

                                       37                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (26 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Individual:
                                                              Your Codebtors (Official Form 106H or 206H) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
   11/16/2021                                                 (Entered: 11/17/2021)

                                       38                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (23 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
   11/22/2021                                                 (Entered: 11/23/2021)

   11/23/2021                          39                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (26 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official

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                                                                                                        EXHIBIT 1, PAGE 14
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 16 of 44 Page ID #:16

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
                                                              (Entered: 11/23/2021)

                                       40                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 12/15/2021 at 10:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   12/01/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 12/01/2021)

                                       41                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   12/01/2021                                                 Jeffrey) (Entered: 12/01/2021)

                                       42                     Amending Schedules (D) (E/F) Filed by Debtor Jamie Lynn Gallian .
   12/01/2021                          (15 pgs)               (Law, Tamika) (Entered: 12/01/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
                                                              80075783. (admin) Paid in reference to dock #22 (Deficiency Ntc dock
   12/01/2021                                                 #23). Modified on 12/3/2021 (Law, Tamika). (Entered: 12/02/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
   12/01/2021                                                 80075784. (admin) (Entered: 12/02/2021)

                                       43                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 1/7/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   12/15/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 12/15/2021)

                                       44                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   12/15/2021                                                 Jeffrey) (Entered: 12/15/2021)

                                       45                     Notice of motion and motion for relief from automatic stay with
                                       (16 pgs)               supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Center Docket
                                                              Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association [NOTE:
                                                              Attorney Michael Poole Notified via voice mail and e-mail to file
                                                              supplemental notice of hearing to be held remotely using Zoomgov audio
   12/22/2021                                                 and video hearing] (Duarte, Tina) (Entered: 12/22/2021)

                                       46                     Memorandum of Points and Authorities in Support of Creditor The
                                       (112 pgs)              Huntington Beach Gables Homeowners Association's Motion for Relief
                                                              from the Automatic Stay; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association. [NOTE: Attorney Michael Poole Notified via
                                                              voice mail and e-mail to file supplemental notice of hearing to be held
                                                              remotely using Zoomgov audio and video hearing] (Duarte, Tina)
   12/22/2021                                                 (Entered: 12/22/2021)

                                                              Receipt of Motion Filing Fee - $188.00 by 08. Receipt Number 80075831.
   12/22/2021                                                 (admin) (Entered: 12/22/2021)

   12/29/2021                          47                     Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video, Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [Filed by FAX] (RE: related document(s)45
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 6/23




                                                                                                        EXHIBIT 1, PAGE 15
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 17 of 44 Page ID #:17

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Center Docket
                                                              Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association [NOTE:
                                                              Attorney Michael Poole Notified via voice mail and e-mail to file
                                                              supplemental notice of hearing to be held remotely using Zoomgov audio
                                                              and video hearing] filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association). The Hearing date is set for 1/20/2022 at 10:00
                                                              AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge
                                                              is Erithe A. Smith. NOTE: [NOTE: This document is to be docketed in the
                                                              main bankruptcy case. Attorney Michael Poole Notified via voice mail
                                                              and e-mail to file supplemental notice of hearing to be held remotely using
                                                              Zoomgov audio and video hearing using the correct form for bankruptcy]
                                                              (Duarte, Tina). (Entered: 12/29/2021)

                                       48                     Hearing Set (RE: related document(s)45 Motion for Relief from Stay -
                                                              ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association). The Hearing date is
                                                              set for 1/20/2022 at 10:00 AM at Crtrm 5A, 411 W Fourth St., Santa Ana,
                                                              CA 92701. The case judge is Erithe A. Smith (Duarte, Tina) (Entered:
   12/29/2021                                                 12/29/2021)

                                       49                     Supplemental Notice of Hearing to be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [By FAX] (RE: related document(s)45 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Randall I.
                                                              Nickel vs. The Huntington Beach Gables HOA et al., Superior Court of
                                                              California, County of Orange, Central Justice Center Docket Number: 30-
                                                              2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is set for 1/20/2022 at 10:00 AM at Crtrm 5A,
                                                              411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   01/04/2022                                                 Smith (Duarte, Tina) (Entered: 01/04/2022)

                                       50                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 1/24/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   01/07/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 01/07/2022)

                                       51                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   01/07/2022                                                 Jeffrey) (Entered: 01/07/2022)

   01/14/2022                          52                     Notice of Continuance of Hearing of Creditor The Huntington Beach
                                       (3 pgs)                Gables Homeowners Association's Motion for Relief from the Automatic
                                                              Stay; Filed by Creditor The Huntington Beach Gables Homeowners
                                                              Association [By FAX] (RE: related document(s)45 Notice of motion and
                                                              motion for relief from automatic stay with supporting declarations
                                                              ACTION IN NON-BANKRUPTCY FORUM RE: Randall I. Nickel vs.
                                                              The Huntington Beach Gables HOA et al., Superior Court of California,
                                                              County of Orange, Central Justice Center Docket Number: 30-2020-
                                                              01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is CONTINUED TO 2/17/2022 at 10:30 AM
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 7/23




                                                                                                        EXHIBIT 1, PAGE 16
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 18 of 44 Page ID #:18

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
                                                              Erithe A. Smith (Duarte, Tina) (Entered: 01/14/2022)

                                       53                     Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [By FAX] (RE: related document(s)45 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Randall I.
                                                              Nickel vs. The Huntington Beach Gables HOA et al., Superior Court of
                                                              California, County of Orange, Central Justice Center Docket Number: 30-
                                                              2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is set for 2/17/2022 at 10:30 AM at Crtrm 5A,
                                                              411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   01/14/2022                                                 Smith (Duarte, Tina) (Entered: 01/14/2022)

                                       56                     Hearing Rescheduled/Continued (RE: related document(s)45 Motion for
                                                              Relief from Stay - ACTION IN NON-BANKRUPTCY FORUM filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association). The
                                                              Hearing is CONTINUED TO 2/17/2022 at 10:30 AM at Crtrm 5A, 411 W
                                                              Fourth St., Santa Ana, CA 92701, Per Hearing Held 1/13/2022. The case
   01/20/2022                                                 judge is Erithe A. Smith (Duarte, Tina) (Entered: 01/25/2022)

                                       54                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 2/14/2022 at 09:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   01/24/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 01/24/2022)

                                       55                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   01/24/2022                                                 Jeffrey) (Entered: 01/24/2022)

                                       57                     Notice of Proposed Abandonment of Property of the Estate Trustee's
                                       (8 pgs)                Notice of Intent to Abandon Estate's Interest in an Unscheduled Check,
                                                              With Proof of Service Filed by Trustee Jeffrey I Golden (TR). (DE Leest,
   02/04/2022                                                 Aaron) (Entered: 02/04/2022)

                                       58                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Israel,
   02/04/2022                          (1 pg)                 Eric. (Israel, Eric) (Entered: 02/04/2022)

                                       59                     Notice -Notice of Withdrawal re: Trustee's Notice of Intent to Abandon
                                       (3 pgs)                Estate's Interest in an Unscheduled Check; proof of service Filed by
                                                              Trustee Jeffrey I Golden (TR) (RE: related document(s)57 Notice of
                                                              Proposed Abandonment of Property of the Estate Trustee's Notice of Intent
                                                              to Abandon Estate's Interest in an Unscheduled Check, With Proof of
                                                              Service Filed by Trustee Jeffrey I Golden (TR). (DE Leest, Aaron)). (DE
   02/07/2022                                                 Leest, Aaron) (Entered: 02/07/2022)

                                       60                     Notice of Proposed Abandonment of Property of the Estate -Trustee's
                                       (8 pgs)                Notice of Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent
                                                              Relief Check; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE
   02/11/2022                                                 Leest, Aaron) (Entered: 02/11/2022)

   02/11/2022                          61                     Response to Motion Regarding the Automatic Stay and Declarations In
                                       (115 pgs)              Support; Memorandum of Points and Authorities in Opposition of

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  8/23




                                                                                                        EXHIBIT 1, PAGE 17
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 19 of 44 Page ID #:19

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              Creditor The Huntington Beach Gables Homeowners Associations'
                                                              Motion for Relief from the Automatic Stay 'EDB' (related document(s): 45
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Cen filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association) Filed
                                                              by Debtor Jamie Lynn Gallian (Le, James) Warning: Item subsequently
                                                              amended by docket entry no:62 Modified on 2/11/2022 (Le, James).
                                                              (Entered: 02/11/2022)

                                       62                     Amended Response to Motion Regarding the Automatic Stay and
                                       (241 pgs)              Declarations In Support; Memorandum of Points and Authorities in
                                                              Opposition of Creditor The Huntington Beach Gables Homeowners
                                                              Associations' Motion for Relief from the Automatic Stay 'EDB'(related
                                                              document(s): 45 Notice of motion and motion for relief from automatic
                                                              stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                              FORUM RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et
                                                              al., Superior Court of California, County of Orange, Central Justice Cen
                                                              filed by Creditor The Huntington Beach Gables Homeowners Association)
   02/11/2022                                                 Filed by Debtor Jamie Lynn Gallian (Le, James) (Entered: 02/11/2022)

                                       63                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 2/28/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   02/15/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 02/15/2022)

                                       64                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   02/15/2022                                                 Jeffrey) (Entered: 02/15/2022)

                                       65                     Hearing Held (RE: related document(s)45 Motion for Relief from Stay -
                                                              ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association) - Deny motion
                                                              without prejudice to re-filing the motion if the cause of action for voidable
                                                              transfer is abandoned or deemed abandoned by the chapter 7 trustee
   02/17/2022                                                 pursuant to 11 U.S.C. 554. (Daniels, Sally) (Entered: 02/28/2022)

                                       66                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 3/21/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   02/28/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 02/28/2022)

                                       67                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   02/28/2022                                                 Jeffrey) (Entered: 02/28/2022)

                                       68                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (12 pgs)               1(o)(3)) 60; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE
   03/03/2022                                                 Leest, Aaron) (Entered: 03/03/2022)

                                       69                     Notice of lodgment of Order in Bankruptcy Case; proof of service Filed by
                                       (6 pgs)                Trustee Jeffrey I Golden (TR) (RE: related document(s)60 Notice of
                                                              Proposed Abandonment of Property of the Estate -Trustee's Notice of
                                                              Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent Relief
                                                              Check; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE Leest,
   03/03/2022                                                 Aaron)). (DE Leest, Aaron) (Entered: 03/03/2022)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                   9/23




                                                                                                        EXHIBIT 1, PAGE 18
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 20 of 44 Page ID #:20

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

   03/04/2022                          70                     Order Authorizing Trustee's Abandonment of Estate's Interest in Debtor's
                                       (2 pgs)                Covid 19 Rent Relief Check (BNC-PDF) (Related Doc # 60 ) Signed on
                                                              3/4/2022 (Duarte, Tina) (Entered: 03/04/2022)

                                       71                     BNC Certificate of Notice - PDF Document. (RE: related document(s)70
                                       (4 pgs)                Order on Motion to Abandon (BNC-PDF)) No. of Notices: 0. Notice Date
   03/06/2022                                                 03/06/2022. (Admin.) (Entered: 03/06/2022)

                                       72                     Addendum to voluntary petition , Statement of Related Cases (LBR Form
                                       (64 pgs)               1015-2.1) , Amended Schedule A/B Individual: Property (Official Form
                                                              106A/B or 206A/B) , Amended Schedule C: The Property You Claimed as
                                                              Exempt (Official Form 106C) , Schedule G Individual: Executory
                                                              Contracts and Unexpired Leases (Official Form 106G or 206G) , Schedule
                                                              H Individual: Your Codebtors (Official Form 106H or 206H) , Amended
                                                              Schedule I Individual: Your Income (Official Form 106I) , Declaration
                                                              About an Individual Debtor's Schedules (Official Form 106Dec) ,
                                                              Statement of Financial Affairs for Individual Filing for Bankruptcy
                                                              (Official Form 107 or 207) , Statement of Intention for Individuals Filing
                                                              Under Chapter 7 (Official Form 108) , Chapter 7 Statement of Your
                                                              Current Monthly Income (Official Form 122A-1) (BNC Option) ,
                                                              Verification of Master Mailing List of Creditors (LBR Form F1007-1),
                                                              Proof of service. Verification of Declaration of Homestead filed with
                                                              Orange County Clerk Recorder. Filed by Debtor Jamie Lynn Gallian .
   03/11/2022                                                 (Nguyen, Vi) (Entered: 03/14/2022)

                                       73                     Addendum to voluntary petition to amend Debtor's DBA, Item #11 pg 3,
                                       (11 pgs)               Item #16b pg6. Filed by Debtor Jamie Lynn Gallian . (Nguyen, Vi)
   03/11/2022                                                 (Entered: 03/14/2022)

                                       74                     Document re Verification of Declaration of Homestead. Filed by Debtor
                                       (4 pgs)                Jamie Lynn Gallian (RE: related document(s)72 Addendum to Vol Pet
                                                              filed by Debtor Jamie Lynn Gallian, Statement of Related Cases (LBR
                                                              Form 1015-2.1), Schedule A/B: Property (Official Form 106A/B or
                                                              206A/B), Schedule C: The Property You Claimed as Exempt (Official
                                                              Form 106C), Schedule G: Executory Contracts and Unexpired Leases
                                                              (Official Form 106G or 206G), Schedule H: Your Codebtors (Official
                                                              Form 106H or 206H), Schedule I: Your Income (Official Form 106I),
                                                              Declaration About an Individual Debtor's Schedules (Official Form
                                                              106Dec), Statement of Financial Affairs (Official Form 107 or 207)
                                                              (Official Form 107 or 207), Statement of Intention for Individuals Filing
                                                              Under Chapter 7 (Official Form B8, or 108), Chapter 7 Statement of Your
                                                              Current Monthly Income (Official Form 122A-1) (BNC Option),
                                                              Verification of Master Mailing List of Creditors (LBR F1007-1)) (Nguyen,
   03/11/2022                                                 Vi) (Entered: 03/14/2022)

                                       75                     Amending Schedules (D) and (E/F) Filed by Debtor Jamie Lynn Gallian .
   03/15/2022                          (22 pgs)               (Nguyen, Vi) (Entered: 03/15/2022)

                                                              Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
   03/15/2022                                                 80075964. (admin) (Entered: 03/15/2022)

                                       76                     Proof of service of Amended Schedules Filed by Debtor Jamie Lynn
   03/16/2022                          (105 pgs)              Gallian . [EDB] (Law, Tamika) (Entered: 03/16/2022)

                                       77                     Statement of Corporate Ownership -none listed Filed by Debtor Jamie
   03/16/2022                          (8 pgs)                Lynn Gallian . [EDB] (Law, Tamika) (Entered: 03/17/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                               10/23




                                                                                                        EXHIBIT 1, PAGE 19
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 21 of 44 Page ID #:21

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   03/21/2022                          78                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/4/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
                                                              THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 03/21/2022)

                                       79                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   03/21/2022                                                 Jeffrey) (Entered: 03/21/2022)

                                       80                     Chapter 7 Statement of Your Current Monthly Income (Official Form
                                       (6 pgs)                122A-1) (BNC Option) Filed by Debtor Jamie Lynn Gallian . [EDB]
   03/22/2022                                                 (Law, Tamika) (Entered: 03/23/2022)

                                       81                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/11/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/04/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/04/2022)

                                       82                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/04/2022                                                 Jeffrey) (Entered: 04/04/2022)

                                       83                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/22/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/11/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/11/2022)

                                       84                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/11/2022                                                 Jeffrey) (Entered: 04/11/2022)

                                       85                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/29/2022 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/26/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/26/2022)

                                       86                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/26/2022                                                 Jeffrey) (Entered: 04/26/2022)

                                       87                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Iskander,
   05/02/2022                          (1 pg)                 Brandon. (Iskander, Brandon) (Entered: 05/02/2022)

                                       88                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Goe,
   05/02/2022                          (1 pg)                 Robert. (Goe, Robert) (Entered: 05/02/2022)

                                       89                     Notice Trustees Notice Of Intent To Abandon Estates Interest In Probate
                                       (6 pgs)                Claims (with Proof of Service) Filed by Trustee Jeffrey I Golden (TR).
   05/02/2022                                                 (Golden (TR), Jeffrey) (Entered: 05/02/2022)

                                       90                     Notice of Assets (no bar date for claims is required) with proof of service
                                       (2 pgs)                Filed by Trustee Jeffrey I Golden (TR). (Golden (TR), Jeffrey) (Entered:
   05/03/2022                                                 05/03/2022)

   05/03/2022                          91                     Meeting of Creditors Held and Concluded (Chapter 7 Asset) Filed by
                                                              Trustee Jeffrey I Golden (TR) (RE: related document(s) 83 Continuance of
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 11/23




                                                                                                        EXHIBIT 1, PAGE 20
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 22 of 44 Page ID #:22

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                              Meeting of Creditors (Rule 2003(e)) (Trustee's 341 Filings) 341(a)
                                                              Meeting Continued to be held on 4/22/2022 at 03:00 PM at TR 7,
                                                              TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE
                                                              TRUSTEE. (Golden (TR), Jeffrey)). (Golden (TR), Jeffrey) (Entered:
                                                              05/03/2022)

                                       92                     Application to Employ Danning, Gill, Israel & Krasnoff, LLP as General
                                       (38 pgs)               Bankruptcy Counsel Chapter 7 Trustees Notice Of Application And
                                                              Application To Employ Danning, Gill, Israel & Krasnoff, LLP As General
                                                              Bankruptcy Counsel Effective As Of January 27, 2022; Declaration Of
                                                              Eric P. Israel; And Statement Of Disinterestedness, with Proof of Service
   05/11/2022                                                 Filed by Trustee Jeffrey I Golden (TR) (Israel, Eric) (Entered: 05/11/2022)

                                       93                     Notification of Discrepancy of Conclusion of Whether or Not No Asset
                                       (2 pgs)                Case (Claims Bar Dar Date Should Be Required); Filed by Debtor Jamie
                                                              Lynn Gallian [EDB] (RE: related document(s)90 Notice of Assets (no bar
                                                              date for claims is required) filed by Trustee Jeffrey I Golden (TR)) (TD8)
   05/11/2022                                                 (Entered: 05/11/2022)

                                       94                     Amended Schedule I Individual: Your Income (Official Form 106I) ,
                                       (10 pgs)               Amended Schedule J: Your Expenses (Official Form 106J) , Chapter 7
                                                              Statement of Your Current Monthly Income (Official Form 122A-1) (BNC
                                                              Option) , Declaration About an Individual Debtor's Schedules (Official
                                                              Form 106Dec) Filed by Debtor Jamie Lynn Gallian . [EDB] (TL)
   05/12/2022                                                 (Entered: 05/12/2022)

                                       95                      Objection to Homestead Exemption Notice of Motion and Motion
                                       (259 pgs)               Objecting to Debtor's Claimed Homestead Exemption; Memorandum of
                                                               Points and Authorities; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates. (Hays, D)
   05/12/2022                                                  (Entered: 05/12/2022)

                                       96                      Notice Supplemental Notice of Hearing to be Held Remotely Using
                                       (4 pgs)                 Zoomgov Audio and Video; with Proof of Service Filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                               related document(s)95 Objection to Homestead Exemption Notice of
                                                               Motion and Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption; Memorandum of Points and Authorities; Declaration of D.
                                                               Edward Hays in Support; with Proof of Service [Hrg. 6/2/22 at 10:30
                                                               a.m.] Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
   05/12/2022                                                  Home Estates.). (Hays, D) (Entered: 05/12/2022)

                                       97                      Declaration of Debtor RE Postpetition Income and Expenses as of the
                                       (31 pgs)                Following Date 05/11/2022 Filed by Debtor Jamie Lynn Gallian . [EDB]
   05/12/2022                                                  (TL) . (Entered: 05/13/2022)

                                       99                      Hearing Set (related document # 95 Motion Objecting to Debtor's
                                                               Claimed Homestead Exemption filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates). The Hearing date is set for
                                                               6/2/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA
   05/12/2022                                                  92701. The case judge is Erithe A. Smith (TD8) (Entered: 05/13/2022)

   05/13/2022                          98                      Statement The Huntington Beach Gables Homeowners Associations
                                       (3 pgs)                 Joinder To Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
                                                               Motion Objecting To Debtors Claimed Homestead Exemption with proof
                                                               of service Filed by Creditor The Huntington Beach Gables Homeowners
                                                               Association. (Goe, Robert) (Entered: 05/13/2022)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                12/23




                                                                                                        EXHIBIT 1, PAGE 21
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 23 of 44 Page ID #:23

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)


                                       100                     Janine Jasso's Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile
                                       (2 pgs)                 Home Estates' Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption Filed by Creditor Janine Jasso 'EDB' (RE: related
                                                               document(s)95 Objection to Homestead Exemption filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates) (JL)
   05/16/2022                                                  (Entered: 05/16/2022)

                                                               Receipt of Motion Filing Fee - $188.00 by 16. Receipt Number
   05/26/2022                                                  80076089. (admin) (Entered: 05/26/2022)

                                       101                     Motion Confirming That No Stay is in effect for Criminal Restitution
                                       (317 pgs; 4 docs)       Case, or, If an Automatic Stay Exists, then for Relief from Stay . Fee
                                                               Amount $188, Filed by Creditor Janine Jasso (Attachments: # 1 2 of 4
   05/26/2022                                                  Motion # 2 3 of 4 Motion # 3 4 of 4 Motion) (AM) (Entered: 05/27/2022)

                                       103                     Notice of motion/application Filed by Creditor Janine Jasso (RE: related
                                       (2 pgs)                 document(s)101 Motion Confirming That No Stay is in effect for
                                                               Criminal Restitution Case, or, If an Automatic Stay Exists, then for
                                                               Relief from Stay . Fee Amount $188, Filed by Creditor Janine Jasso
                                                               (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4 Motion)
   05/26/2022                                                  (AM)). (AM) (Entered: 05/27/2022)

                                       102                     Hearing Set (RE: related document(s)101 Motion for Relief - Order
                                                               Confirming Termination of Stay or That no Stay is in Effect filed by
                                                               Creditor Janine Jasso) The Hearing date is set for 6/16/2022 at 10:00 AM
                                                               at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
   05/27/2022                                                  Erithe A. Smith (AM) (Entered: 05/27/2022)

                                       104                     Supplemental Notice of Hearing To Be Held Remotely Using Zoomgov
                                       (3 pgs)                 Audio and Video Filed by Creditor Janine Jasso (RE: related
                                                               document(s)101 Motion Confirming That No Stay is in effect for
                                                               Criminal Restitution Case, or, If an Automatic Stay Exists, then for
                                                               Relief from Stay . Fee Amount $188, Filed by Creditor Janine Jasso
                                                               (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4 Motion)
                                                               (AM)). The Hearing date is set for 6/16/2022 at 10:00 AM at Crtrm 5A,
                                                               411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   05/27/2022                                                  Smith [EDB] (AM) (Entered: 05/27/2022)

                                       105                     Debtors Reply Opposition, Memorandum of Points and Authorities to
                                       (361 pgs; 2 docs)       Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates' Motion
                                                               Objecting to Debtor's Claimed Homestead Exemption and Joinder Parties
                                                               Huntington Beach Gables HOA; Janine Jasso (related document(s): 95
                                                               Objection to Homestead Exemption filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates), Filed by Debtor Jamie Lynn
                                                               Gallian [EDB] (TD8) Additional attachment(s) added on 6/1/2022
   06/01/2022                                                  (TD8). (Entered: 06/01/2022)

                                       106                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (43 pgs)                1(o)(3)) with Proof of Service Filed by Trustee Jeffrey I Golden (TR)
                                                               (RE: related document(s)92 Application to Employ Danning, Gill, Israel
                                                               & Krasnoff, LLP as General Bankruptcy Counsel Chapter 7 Trustees
                                                               Notice Of Application And Application To Employ Danning, Gill, Israel
                                                               & Krasnoff, LLP As General Bankruptcy Counsel Effective As Of
   06/01/2022                                                  January 2). (Israel, Eric) (Entered: 06/01/2022)

   06/01/2022                          107                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (10 pgs)                1(o)(3)) Declaration that No Party Requested a Hearing on Trustees
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                               13/23




                                                                                                        EXHIBIT 1, PAGE 22
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 24 of 44 Page ID #:24

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               Notice Of Intent To Abandon Estates Interest In Probate Claims (with
                                                               Proof of Service) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
                                                               Jeffrey) (Entered: 06/01/2022)

                                       108                     Order Granting Chapter 7 Trustee's Application to Employ Danning, Gill,
                                       (2 pgs)                 Israel & Krasnoff, LLP as his General Bankruptcy Counsel [Doc. No. 92]
                                                               (BNC-PDF) (Related Doc # 92) Signed on 6/1/2022. (TD8) (Entered:
   06/01/2022                                                  06/01/2022)

                                       109                     Order Authorizing Trustee's Abandonment of Estate's Interest in Probate
                                       (2 pgs)                 Claims (BNC-PDF) (Related Doc # 89 ) Signed on 6/1/2022 (TD8)
   06/01/2022                                                  (Entered: 06/01/2022)

                                       111                     Opposition to Chapter 7 Trustee's (related document(s): 92 Application to
                                       (29 pgs)                Employ Danning, Gill, Israel & Krasnoff, LLP as General Bankruptcy
                                                               Counsel Chapter 7 Trustees Notice Of Application And Application To
                                                               Employ Danning, Gill, Israel & Krasnoff, LLP As General Bankruptcy
                                                               Counsel Effective As Of January 2 filed by Trustee Jeffrey I Golden
                                                               (TR)); Filed by Debtor Jamie Lynn Gallian [Request for Hearing] [EDB]
   06/01/2022                                                  (Filed at 9:33 pm) (TD8). (Entered: 06/02/2022)

                                       110                     Opposition to (related document(s): 101 Notice of Motion and Motion in
                                       (8 pgs)                 Individual Case for Order Confirming Termination of Stay under 11
                                                               U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)(4)(A)
                                                               (ii). Fee Amount $188, filed by Creditor Janine Jasso) -Trustee's Notice
                                                               of Opposition and Opposition to Motion Confirming that No Stay is in
                                                               Effect for Criminal Restitution Case, or, if an Automatic Stay Exists, then
                                                               for Relief from Stay filed by Creditor Janine Jasso; Memorandum of
                                                               Points and Authorities in Support Thereof; proof of service Filed by
   06/02/2022                                                  Trustee Jeffrey I Golden (TR) (DE Leest, Aaron) (Entered: 06/02/2022)

                                       112                     Debtor's Notice of Opposition and Opposition to Motion Confirming that
                                       (39 pgs)                No Stay is in Effect for Criminal Restitution Case, or, if an Automatic
                                                               Stay Exists, Then for Relief from Stay filed by Interested Party Janine
                                                               Jasso (related document(s): 101 Notice of Motion and Motion in
                                                               Individual Case for Order Confirming Termination of Stay under 11
                                                               U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)(4)(A)
                                                               (ii). Fee Amount $188, filed by Creditor Janine Jasso) Filed by Debtor
   06/02/2022                                                  Jamie Lynn Gallian 'EDB' (JL) (Entered: 06/03/2022)

                                       113                     Hearing Rescheduled/Continued (related document # 95 Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates Motion Objecting
                                                               to Debtor's Claimed Homestead Exemption). The Hearing is
                                                               CONTINUED TO 7/21/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                                               St., Santa Ana, CA 92701 to allow Movant/Joining Parties to file a reply
                                                               to Debtor's late opposition filed on June 1, 2022, which reply(ies) must
                                                               be filed by July 7, 2022. No other pleadings may be filed. The case judge
   06/02/2022                                                  is Erithe A. Smith (TD8) (Entered: 06/03/2022)

                                       114                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)108 Order on Application to Employ (BNC-PDF)) No. of
   06/03/2022                                                  Notices: 0. Notice Date 06/03/2022. (Admin.) (Entered: 06/03/2022)

   06/03/2022                          116                     Amended Motion Confirming That No Stay is in effect for Criminal
                                       (322 pgs)               Restitution Case, or, If an Automatic Stay Exists, then for Relief from
                                                               Stay (Updated Proof of Service) 'EDB' (related document(s): 101 Notice
                                                               of Motion and Motion in Individual Case for Order Confirming
                                                               Termination of Stay under 11 U.S.C. 362(j) or That No Stay is in Effect
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 14/23




                                                                                                        EXHIBIT 1, PAGE 23
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 25 of 44 Page ID #:25

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               under 11 U.S.C. 362(c)(4)(A)(ii). Fee Amount $188, filed by Creditor
                                                               Janine Jasso) Filed by Creditor Janine Jasso (JL) (Entered: 06/06/2022)

                                       117                     Amended Supplemental Notice of Hearing To Be Held Remotely Using
                                       (8 pgs)                 Zoomgov Audio and Video Filed by Creditor Janine Jasso (Updated
                                                               Proof of Service) 'EDB' (RE: related document(s)104) (Filed by Creditor
   06/03/2022                                                  Janine Jasso . (JL) (Entered: 06/06/2022)

                                       115                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)109 Order on Motion to Abandon (BNC-PDF)) No. of
   06/04/2022                                                  Notices: 0. Notice Date 06/04/2022. (Admin.) (Entered: 06/04/2022)

                                       118                     Reply to Trustee's and Debtor's Opposition to Motion Confirming that
                                       (23 pgs)                No Stay is in Effect for Criminal Restitution Case, or, if an Automatic
                                                               Stay Exists, Then for Relief From Stay (related document(s): 110
                                                               Opposition filed by Trustee Jeffrey I Golden (TR), 112 Opposition filed
                                                               by Debtor Jamie Lynn Gallian) Filed by Creditor Janine Jasso 'EDB' (JL)
                                                               NOTE: Filed with incorrect caption and lists adversary number; this
                                                               document belongs in the main bankruptcy case 8:21-bk-11710-ES.
   06/09/2022                                                  Modified on 6/10/2022 (TD8). (Entered: 06/09/2022)

                                       119                     Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho Del
                                       (9 pgs)                 Rey Mobile Home Estates (RE: related document(s)95 Objection to
                                                               Homestead Exemption Notice of Motion and Motion Objecting to
                                                               Debtor's Claimed Homestead Exemption; Memorandum of Points and
                                                               Authorities; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
   06/09/2022                                                  06/09/2022)

                                       120                     Amended Notice of lodgment, Filed by Debtor Jamie Lynn Gallian
                                       (8 pgs)                 [EDB] (RE: related document(s)95 Objection to Homestead Exemption).
   06/10/2022                                                  (TD8) (Entered: 06/10/2022)

                                       121                     Notice of Lodgment Filed by Debtor Jamie Lynn Gallian 'EDB' (RE:
                                       (8 pgs)                 related document(s)95 Objection to Homestead Exemption). (JL)
   06/10/2022                                                  (Entered: 06/13/2022)

                                       123                     Hearing Held (RE: related document(s)101 Motion for Relief - Order
                                                               Confirming Termination of Stay or That no Stay is in Effect filed by
                                                               Creditor Janine Jasso) Motion Denied Without Prejudice. (JL) (Entered:
   06/16/2022                                                  06/22/2022)

                                       122                     Notice of lodgment, Filed by Creditor Janine Jasso [EDB] (RE: related
                                       (8 pgs)                 document(s)101 Notice of Motion and Motion in Individual Case for
                                                               Order Confirming Termination of Stay under 11 U.S.C. 362(j) or That No
                                                               Stay is in Effect under 11 U.S.C. 362(c)(4)(A)(ii). Fee Amount $188,).
   06/17/2022                                                  (TD8). (Entered: 06/21/2022)

                                       124                     Order Continuing Hearing on Motion Objecting to Debtor's Claimed
                                       (5 pgs)                 Homestead Exemption. IT IS ORDERED that: The Hearing on the
                                                               Motion is CONTINUED TO July 21, 2022, at 10:30 a.m. to Allow
                                                               Houser Bros and/or the Joining Parties to File a Reply/Replies to
                                                               Debtor's Late Opposition filed on June 1, 2022 (See Order for Further
                                                               Ruling) (BNC-PDF) (Related Doc # 95 ) Signed on 6/23/2022 (TD8)
   06/23/2022                                                  (Entered: 06/23/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  15/23




                                                                                                        EXHIBIT 1, PAGE 24
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 26 of 44 Page ID #:26

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   06/25/2022                          125                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (7 pgs)                 document(s)124 Order on Generic Motion (BNC-PDF)) No. of Notices:
                                                               0. Notice Date 06/25/2022. (Admin.) (Entered: 06/25/2022)

                                       126                     Order Denying Motion for Relief from the Automatic Stay Under 11
                                       (2 pgs)                 U.S.C. Section 362 (BNC-PDF) Signed on 6/27/2022 (RE: related
                                                               document(s)101 Motion for Relief - Order Confirming Termination of
                                                               Stay or That no Stay is in Effect filed by Creditor Janine Jasso). (TD8)
   06/27/2022                                                  (Entered: 06/27/2022)

                                       127                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)126 Order (Generic) (BNC-PDF)) No. of Notices: 0. Notice
   06/29/2022                                                  Date 06/29/2022. (Admin.) (Entered: 06/29/2022)

                                       128                     Statement -Trustee's Joinder in Houser Bros. Co. dba Rancho Del Rey
                                       (4 pgs)                 Mobile Home Estates' Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption; proof of service 95 Filed by Trustee Jeffrey I Golden (TR).
   06/30/2022                                                  (DE Leest, Aaron) (Entered: 06/30/2022)

                                       129                     Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                       (5 pgs)                 Gallian) The Huntington Beach Gables Homeowners Association's Reply
                                                               to Debtor's Opposition to Motion Objecting to Debtor's Claimed
                                                               Homestead Exemption with Proof of Service Filed by Creditor The
                                                               Huntington Beach Gables Homeowners Association (Goe, Robert)
   07/07/2022                                                  (Entered: 07/07/2022)

                                       130                     Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                       (96 pgs)                Gallian) Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   07/07/2022                                                  Mobile Home Estates (Hays, D) (Entered: 07/07/2022)

                                       131                     Declaration re: Declaration of Vivienne J. Alston re: Motion Objecting to
                                       (4 pgs)                 Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       132                     Declaration re: Declaration of Greg Buysman re: Motion Objecting to
                                       (62 pgs)                Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       133                     Declaration re: Declaration of Chris Houser re: Motion Objecting to
                                       (4 pgs)                 Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       134                     Reply to Greg Buysman, CA Notary Public Commission Number
                                       (13 pgs)                2341449; Owner & Operator the UPS Store, Edinger/Springdage (related
                                                               document(s): 95 Objection to Homestead Exemption filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates) Filed by
   07/08/2022                                                  Debtor Jamie Lynn Gallian [EDB] (AM) (Entered: 07/08/2022)

   07/08/2022                          135                     Motion to Avoid Lien (Real Property) with The Huntington Beach
                                       (224 pgs; 6 docs)       Gables Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                               [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4) (AM) Modified on


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                   16/23




                                                                                                        EXHIBIT 1, PAGE 25
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 27 of 44 Page ID #:27

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               7/8/2022 (AM). Additional attachment(s) added on 7/8/2022 (TL).
                                                               (Entered: 07/08/2022)

                                       136                     Notice of Opportunity to Request a Hearing On Motion Filed by Debtor
                                       (228 pgs; 7 docs)       Jamie Lynn Gallian . [EDB] (AM) Modified on 7/8/2022 (AM) (RE:
                                                               related document(s)135 Motion to Avoid Lien Property Lien with The
                                                               Huntington Beach Gables Homeowners Association). Additional
                                                               attachment(s) added on 7/11/2022 (TL). Modified on 7/11/2022 (TL).
   07/08/2022                                                  (Entered: 07/08/2022)

                                       137                     Motion to Avoid Lien Real Property with The Huntington Beach Gables
                                                               Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                               (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4 # 4 Part 5 # 5 Part 6) [EDB]
                                                               (AM) Modified on 7/8/2022 (AM). Docketed in error. Motion
                                                               terminated. See docket entry 135 for correct Motion. Modified on
   07/08/2022                                                  7/11/2022 (TL). (Entered: 07/08/2022)

                                       138                     Notice of Lodgment of Excerpts of Certified Transcript in Support of
                                       (20 pgs)                Reply to Debtor's Opposition to Motion Objecting to Claimed Homestead
                                                               Exemption; with Proof of Service Filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates (RE: related document(s)130
                                                               Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                                               Gallian) Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   07/20/2022                                                  Mobile Home Estates). (Hays, D) (Entered: 07/20/2022)

                                       139                     Notice of Lodgment of Orange County Tax Assessors Proof of Debtors
                                       (6 pgs)                 Homestead Exemption Effective 2/25/2021 in Support of Opposition to
                                                               Motion Objecting to Claimed Homestead Exemption, Filed by Debtor
                                                               Jamie Lynn Gallian [EDB] (RE: related document(s)95 Objection to
   07/21/2022                                                  Homestead Exemption). (TD8) (Entered: 07/21/2022)

                                       140                     Amended Notice of Lodgment of Orange County Tax Assessors Proof of
                                       (33 pgs)                Debtors Homestead Exemption Effective 2/25/2021 in Support of
                                                               Opposition to Motion Objecting to Claimed Homestead Exemption Filed
                                                               by Debtor Jamie Lynn Gallian 'EDB' (RE: related document(s)130 Reply
                                                               to (related document(s): 105 Reply filed by Debtor Jamie Lynn Gallian)
                                                               Reply to Debtor's Opposition to Motion Objecting to Claimed Homestead
                                                               Exemption; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
                                                               Home Estates, 139 Notice of Lodgment of Orange County Tax Assessors
                                                               Proof of Debtors Homestead Exemption Effective 2/25/2021 in Support
                                                               of Opposition to Motion Objecting to Claimed Homestead Exemption,
                                                               Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related document(s)95
   07/21/2022                                                  Objection to Homestead Exemption). (TD8)). (JL) (Entered: 07/21/2022)

                                       143                     Notice of Appeal and Statement of Election to Bankruptcy Appellate
                                       (6 pgs)                 Panel.(Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian . Appellant Designation due by 8/4/2022.
   07/21/2022                                                  (NB8) (Entered: 07/22/2022)

                                       153                     Hearing Held (related document # 95 Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates Motion Objecting to Debtor's
                                                               Claimed Homestead Exemption) - Motion Granted objecting to Debtor's
   07/21/2022                                                  homestead exemption claim. (TD8) (Entered: 07/25/2022)

   07/22/2022                          141                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                17/23




                                                                                                        EXHIBIT 1, PAGE 26
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 28 of 44 Page ID #:28

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                       (63 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) Omnibus Opposition to Debtor's Notice of
                                                               Motion and Motion to Avoid Lien Under 11 U.S.C. § 522(f) and Request
                                                               for Hearing; Declaration of Robert P. Goe in Support Thereof; Notice of
                                                               Opposition and Request for a Hearing with Proof of Service Filed by
                                                               Creditor The Huntington Beach Gables Homeowners Association (Goe,
                                                               Robert) (Entered: 07/22/2022)

                                       142                     Notice of Assets filed by trustee and court's notice of possible dividend
                                       (3 pgs; 2 docs)         (BNC) with proof of service Filed by Trustee Jeffrey I Golden (TR).
                                                               Proofs of Claims due by 10/25/2022. Government Proof of Claim due by
   07/22/2022                                                  1/5/2022. (Golden (TR), Jeffrey) (Entered: 07/22/2022)

                                       144                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid; Does Not
                                                               Include The Entered Date Of Order, Judgment, Or Decree; Does Not
                                                               Include Entered Stamped Copy Of Order, Judgment, Or Decree; Does
                                                               Not Include the Telephone Number(s) Of The Opposing Parties (RE:
                                                               related document(s)143 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
   07/22/2022                                                  (Entered: 07/22/2022)

                                       145                     Request for a Certified Copy Fee Amount $11. The document will be
                                                               sent via email to :gestrada@wgllp.com: Filed by Trustee Jeffrey I Golden
                                                               (TR) (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Golden
   07/22/2022                                                  (TR), Jeffrey) (Entered: 07/22/2022)

                                                               Receipt of Request for a Certified Copy( 8:21-bk-11710-ES)
                                                               [misc,paycert] ( 11.00) Filing Fee. Receipt number AXXXXXXXX. Fee
   07/22/2022                                                  amount 11.00. (re: Doc# 145 ) (U.S. Treasury) (Entered: 07/22/2022)

                                       146                     Transcript Order Form related to an Appeal, regarding Hearing Date
                                       (1 pg)                  07/21/2022 at 10:30 a.m. Filed by Debtor Jamie Lynn Gallian [EDB]
                                                               (RE: related document(s)95 Objection to Homestead Exemption). (TD8)
   07/22/2022                                                  (Entered: 07/22/2022)

                                       147                     Amended Motion (related document(s): 135 Motion to Avoid Lien
                                       (269 pgs; 2 docs)       Property Lien with The Huntington Beach Gables Homeowners
                                                               Association filed by Debtor Jamie Lynn Gallian) Filed by Debtor Jamie
                                                               Lynn Gallian [EDB] (Attachments: # 1 Part 2) (TD8) (Entered:
   07/22/2022                                                  07/22/2022)

                                       148                     Notice of Opportunity To Request a Hearing On Motion (LBR 9013-
                                       (273 pgs; 3 docs)       1(o)) Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related
                                                               document(s)135 Motion to Avoid Lien (Real Property) with The
                                                               Huntington Beach Gables Homeowners Association Filed by Debtor
                                                               Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4)
                                                               (AM) Modified on 7/8/2022 (AM). Additional attachment(s) added on
                                                               7/8/2022 (TL)., 147 Amended Motion (related document(s): 135 Motion
                                                               to Avoid Lien Property Lien with The Huntington Beach Gables
                                                               Homeowners Association filed by Debtor Jamie Lynn Gallian) Filed by
                                                               Debtor Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2) (TD8)).
                                                               (Attachments: # 1 Part 2 - Amended Motion # 2 Part 3 - Declaration)
   07/22/2022                                                  (TD8) (Entered: 07/22/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                18/23




                                                                                                        EXHIBIT 1, PAGE 27
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 29 of 44 Page ID #:29

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   07/22/2022                          149                     Certified Copy Emailed to gestrada@wgllp.com (Entered: 07/22/2022)

                                       150                     Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho Del
                                       (16 pgs)                Rey Mobile Home Estates (RE: related document(s)95 Objection to
                                                               Homestead Exemption Notice of Motion and Motion Objecting to
                                                               Debtor's Claimed Homestead Exemption; Memorandum of Points and
                                                               Authorities; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
   07/22/2022                                                  07/22/2022)

                                       151                     BNC Certificate of Notice (RE: related document(s)142 Notice of Assets
                                       (5 pgs)                 filed by trustee and court's notice of possible dividend (BNC) filed by
                                                               Trustee Jeffrey I Golden (TR)) No. of Notices: 75. Notice Date
   07/24/2022                                                  07/24/2022. (Admin.) (Entered: 07/24/2022)

                                       152                     Transcript Record Transmittal (Court transcript records have been
                                                               uploaded to FDS). For Order Number: 22-ES-22. RE Hearing Date:
                                                               07/21/22, [TRANSCRIPTION SERVICE PROVIDER: ECHO
                                                               REPORTING, INC., Telephone number Ph: (858) 453-7590.] (RE:
                                                               related document(s)146 Transcript Order Form (Public Request) filed by
   07/25/2022                                                  Debtor Jamie Lynn Gallian) (JL) (Entered: 07/25/2022)

                                       154                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
                                       (61 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) 141 Amended Omnibus Opposition to
                                                               Debtor's Notice of Motion and Motion to Avoid Lien Under 11 U.S.C. §
                                                               522(f) and Request for Hearing; Declaration of Robert P. Goe in Support
                                                               Thereof with Proof of Service Filed by Creditor The Huntington Beach
                                                               Gables Homeowners Association (Iskander, Brandon) (Entered:
   07/25/2022                                                  07/25/2022)

                                       155                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
                                       (63 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) 141[154 filer error] Amended Omnibus
                                                               Opposition to Debtor's Notice of Motion and Motion to Avoid Lien Under
                                                               11 U.S.C. § 522(f) and Request for Hearing; Declaration of Robert P.
                                                               Goe in Support Thereof; Notice of Opposition and Request for a Hearing
                                                               with Proof of Service Filed by Creditor The Huntington Beach Gables
   07/25/2022                                                  Homeowners Association (Goe, Robert) (Entered: 07/25/2022)

                                       156                     Notice of lodgment (Amended) Notice of Lodgment Filed by Creditor
                                       (16 pgs)                Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                               related document(s)150 Notice of lodgment Filed by Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE: related
                                                               document(s)95 Objection to Homestead Exemption Notice of Motion and
                                                               Motion Objecting to Debtor's Claimed Homestead Exemption;
                                                               Memorandum of Points and Authorities; Declaration of D. Edward Hays
                                                               in Support; with Proof of Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates.).).
   07/26/2022                                                  (Hays, D) (Entered: 07/26/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                             19/23




                                                                                                        EXHIBIT 1, PAGE 28
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 30 of 44 Page ID #:30

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   07/26/2022                          157                     Debtor's Notice of and Motion for Reconsideration of 7.21.22 Order
                                       (332 pgs; 2 docs)       Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile Home
                                                               Estates Objection to Debtor's Claimed Homestead Exemption and
                                                               Joinder Parties Huntington Beach Gables HOA; Janine Jasso. Filed by
                                                               Debtor Jamie Lynn Gallian (Attachments: # 1 Part 2) 'EDB' (RE: related
                                                               document(s)95) (JL) (Entered: 07/26/2022)

                                       158                     Supplemental Notice of Hearing to be Held Remotely Using
                                       (4 pgs)                 ZOOMGOV Audio and Video Filed by Debtor Jamie Lynn Gallian 'EDB'
                                                               (RE: related document(s)157 Debtor's Notice of and Motion for
                                                               Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA
                                                               Rancho Del Rey Mobile Home Estates Objection to Debtor's Claimed
                                                               Homestead Exemption and Joinder Parties Huntington Beach Gables
                                                               HOA; Janine Jasso. Filed by Debtor Jamie Lynn Gallian (Attachments: #
                                                               1 Part 2) 'EDB' (RE: related document(s)95) (JL)). (JL) (Entered:
   07/26/2022                                                  07/26/2022)

                                       159                     Hearing Set (RE: related document(s)157 Motion to Reconsider filed by
                                                               Debtor Jamie Lynn Gallian) The Hearing date is set for 8/18/2022 at
                                                               10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The
   07/26/2022                                                  case judge is Erithe A. Smith (JL) (Entered: 07/26/2022)

                                       160                     Trustee Certification of Services Rendered Under 11 U.S.C. Section
                                                               330(e). I rendered the following service in the case and am eligible for
                                                               payment under 11 U.S.C. Section 330(e): Filed a Notice of Assets. I
                                                               declare under penalty of perjury that the foregoing is true and correct.
                                                               (Executed on 7/28/2022). Filed by Trustee Jeffrey I Golden (TR) (RE:
                                                               related document(s)90 Notice of Assets (no bar date for claims is
                                                               required) with proof of service Filed by Trustee Jeffrey I Golden (TR).
                                                               (Golden (TR), Jeffrey) filed by Trustee Jeffrey I Golden (TR)). (Golden
   07/28/2022                                                  (TR), Jeffrey) (Entered: 07/28/2022)

                                       161                     Notice Of Appeal And Statement of Election To Bankruptcy Appellate
                                       (12 pgs)                Panel.(Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian. Appellant Designation due by 8/11/2022. -
                                                               [EDB] - APPEAL FEE OF $298 PAID 7/29/2022 - RECEIPT NO.
   07/28/2022                                                  80076183 (NB8) Modified on 7/29/2022 (NB8). (Entered: 07/28/2022)

                                       162                     Application to Employ Coldwell Banker Realty as Real Estate Broker
                                       (25 pgs)                Application Of The Chapter 7 Trustee To Employ Real Estate Broker
                                                               Coldwell Banker Realty And Agents William Friedman And Greg
                                                               Bingham Pursuant To 11 U.S.C. §§ 327 And 328; Memorandum Of
                                                               Points And Authorities; And Declarations Of William Friedman And
                                                               Greg Bingham In Support (with Proof of Service) Filed by Trustee
                                                               Jeffrey I Golden (TR) (Golden (TR), Jeffrey) - WARNING: See docket
                                                               entry no. 166 for corrections - Modified on 7/29/2022 (TD8). (Entered:
   07/28/2022                                                  07/28/2022)

   07/28/2022                          163                     Notice of Hearing Application Of The Chapter 7 Trustee To Employ Real
                                       (5 pgs)                 Estate Broker Coldwell Banker Realty And Agents William Friedman
                                                               And Greg Bingham Pursuant To 11 U.S.C. §§ 327 And 328;
                                                               Memorandum Of Points And Authorities; And Declarations Of William
                                                               Friedman And Greg Bingham In Support (with Proof of Service) Filed by
                                                               Trustee Jeffrey I Golden (TR) (RE: related document(s)162 Application
                                                               to Employ Coldwell Banker Realty as Real Estate Broker Application Of
                                                               The Chapter 7 Trustee To Employ Real Estate Broker Coldwell Banker
                                                               Realty And Agents William Friedman And Greg Bingham Pursuant To 11
                                                               U.S.C. §§ 327 And 328; Memorandum Of Points And Authorities; And
                                                               Declarations Of William Friedman And Greg Bingham In Support (with
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 20/23




                                                                                                        EXHIBIT 1, PAGE 29
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 31 of 44 Page ID #:31

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               Proof of Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR),
                                                               Jeffrey)). (Golden (TR), Jeffrey) - WARNING: See docket entry no. 166
                                                               for corrections - Modified on 7/29/2022 (TD8). (Entered: 07/28/2022)

                                       164                     Supplemental Supplemental Notice Of Hearing To Be Held Remotely
                                       (4 pgs)                 Using Zoomgov Audio And Video (with Proof of Service) Filed by Trustee
                                                               Jeffrey I Golden (TR). (Golden (TR), Jeffrey) - WARNING: See docket
                                                               entry no. 166 for corrections - Modified on 7/29/2022 (TD8). (Entered:
   07/28/2022                                                  07/28/2022)

                                       165                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid And Does Not
                                                               Include Entered Stamped Copy Of Order, Judgment, Or Decree (RE:
                                                               related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
   07/28/2022                                                  (Entered: 07/28/2022)

                                                               Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
   07/28/2022                                                  80076180. (admin) (Entered: 07/28/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
   07/28/2022                                                  Number 80076180. (admin) (Entered: 07/28/2022)

                                       166                     Notice to Filer of Error and/or Deficient Document Hearing date/time
                                                               selected is no longer available. THE FILER IS INSTRUCTED TO
                                                               CONTACT JUDGE SMITH'S COURTROOM DEPUTY FOR AN
                                                               AVAILABLE HEARING DATE/TIME AND SUBSEQUENTLY
                                                               FILE AN AMENDED NOTICE OF MOTION/HEARING WITH
                                                               THE CORRECT HEARING INFORMATION. (RE: related
                                                               document(s)162 Application to Employ filed by Trustee Jeffrey I Golden
                                                               (TR), 163 Notice of Hearing (BK Case) filed by Trustee Jeffrey I Golden
                                                               (TR), 164 Supplemental filed by Trustee Jeffrey I Golden (TR)) (TD8)
   07/29/2022                                                  (Entered: 07/29/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $5.00 by 16. Receipt
   07/29/2022                                                  Number 80076183. (admin) (Entered: 07/29/2022)

                                                               Receipt of Appeal Late Filing Fee - $293.00 by 16. Receipt Number
   07/29/2022                                                  80076183. (admin) (Entered: 07/29/2022)

                                       167                     Notice of Motion Motion For Leave From The Bankruptcy Appeal Panel
                                       (160 pgs; 2 docs)       To Permit The Bankruptcy Court To Consider Debtor's Motion For Re-
                                                               Consideration [Doc 157] On August 18, 2022 Filed by Debtor Jamie
                                                               Lynn Gallian (Attachments: # 1 Motion For Reconsideration) (GD)
   08/01/2022                                                  [EDB] Modified on 8/1/2022 (GD). (Entered: 08/01/2022)

                                       168                     Optional Appellee Statement of Election to Proceed in U.S. District
                                       (4 pgs)                 Court (Official Form 417B) Filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates (RE: related document(s)143
                                                               Notice of Appeal and Statement of Election (Official Form 417A), 161
                                                               Notice of Appeal and Statement of Election (Official Form 417A)).
   08/02/2022                                                  (Masud, Laila) (Entered: 08/02/2022)

   08/04/2022                          169                     Notice Of Appeal And Statement Of Election To Bankruptcy Appellate
                                       (4 pgs)                 Panel (Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian . Appellant Designation due by 8/18/2022.
                                                               [EDB] (NB8) (Entered: 08/04/2022)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                21/23




                                                                                                        EXHIBIT 1, PAGE 30
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 32 of 44 Page ID #:32

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)


                                       170                     Response to (related document(s): 157 Motion to Reconsider filed by
                                       (58 pgs)                Debtor Jamie Lynn Gallian) Response to Debtor's Notice of and Motion
                                                               for Reconsideration of 7-21-22 Order Sustaining Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates Objection to Debtor's Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   08/04/2022                                                  Mobile Home Estates (Hays, D) (Entered: 08/04/2022)

                                       171                     Statement - Trustee's Joinder in Houser Bros. Co. dba Rancho Del Rey
                                       (4 pgs)                 Mobile Home Estates' Response to Debtor's Notice of and Motion for
                                                               Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estate's Objection to Debtor's Claimed
                                                               Homestead Exemption; proof of service Filed by Trustee Jeffrey I Golden
   08/04/2022                                                  (TR). (DE Leest, Aaron) (Entered: 08/04/2022)

                                       172                     Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
   08/04/2022                          (4 pgs)                 Gallian. (Briones, Bert) (Entered: 08/04/2022)

                                       173                     Statement The Huntington Beach Gables Homeowners Association's
                                       (4 pgs)                 Joinder to House Bros. Co. dba Rancho del Rey Mobile Home Estates'
                                                               Response to Debtor's Motion for Reconsideration with Proof of Service
                                                               Filed by Creditor The Huntington Beach Gables Homeowners
                                                               Association. (Goe, Robert). Related document(s) 157 Motion to
                                                               Reconsider filed by Debtor Jamie Lynn Gallian. Modified on 8/5/2022
   08/04/2022                                                  (JL). (Entered: 08/04/2022)

                                       174                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid; The Notice Of
                                                               Appeal Does Not Conform Substantially With The Notice Of Appeal
                                                               And Statement Of Election (Official Form 417A: Does Not Include The
                                                               Title Of Order, Judgment, Or Decree; Does Not Include The Entered
                                                               Date Of Order, Judgment, Or Decree; Does Not Include Entered Stamped
                                                               Copy Of Order, Judgment, Or Decree; related document(s)169 Notice of
                                                               Appeal and Statement of Election; (RE: al Form 417A) filed by Debtor
   08/04/2022                                                  Jamie Lynn Gallian) (NB8) (Entered: 08/04/2022)

                                       175                     Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                       (185 pgs; 6 docs)       Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                               related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (Attachments:
                                                               # 1 Notice of Appeal and Statement of Election # 2 Notice of Motion and
                                                               Motion for Leave From the Bankruptcy Appellate Panel to Permit the
                                                               Bankruptcy Court to Consider Debtor's Motion for Re-consideration
                                                               (Doc 157) on August 18, 2022 # 3 Notice of Transcript(s) Designated for
                                                               an Appeal # 4 Transcript Order Form # 5 Amended Order Continuing
                                                               The Bankruptcy Appellant Panel Of The Ninth Circuit) (NB8) (Entered:
   08/04/2022                                                  08/04/2022)

                                       176                     Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                       (17 pgs; 5 docs)        Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                               related document(s)169 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (Attachments:
                                                               # 1 Notice of Appeal and Statement of Election # 2 Notice of Transcripts
                                                               Designated for An Appeal # 3 Transcript Order Form # 4 Amended
                                                               Order Continuing the Bankruptcy Appellant Panel of the Ninth Circuit)
   08/04/2022                                                  (NB8) (Entered: 08/04/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 22/23




                                                                                                        EXHIBIT 1, PAGE 31
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 33 of 44 Page ID #:33

8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   08/04/2022                                                  Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
                                                               80076190. (admin) (Entered: 08/04/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
   08/04/2022                                                  Number 80076190. (admin) (Entered: 08/04/2022)

                                       177                     Order Granting Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                       (12 pgs)                Estate's Motion Objecting to Debtor's Claimed Homestead Exemption in
                                                               16222 Monterey Lane, Space #376, Huntington Beach, CA 92649,
                                                               Docket No. 95 (BNC-PDF) (Related Doc # 95 ) Signed on 8/5/2022 (JL)
   08/05/2022                                                  (Entered: 08/05/2022)

                                       178                     Opposition to (related document(s): 147 Amended Motion (related
                                       (63 pgs)                document(s): 135 Motion to Avoid Lien Property Lien with The
                                                               Huntington Beach Gables Homeowners Association filed by Debtor
                                                               Jamie Lynn Gallian) filed by Debtor Jamie Lynn Gallian) Opposition to
                                                               Debtor's Amended Notice of Motion and Motion to Avoid Lien Under 11
                                                               U.S.C. § 522(f) and Request for Hearing; Declaration of Robert P. Goe
                                                               in Support Thereof; Notice of Opposition and Request for a Hearing with
                                                               Proof of Service Filed by Creditor The Huntington Beach Gables
   08/05/2022                                                  Homeowners Association (Goe, Robert) (Entered: 08/05/2022)

                                       179                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (14 pgs)                document(s)177 Order RE: Objection to Debtor's Claim of Exemptions
                                                               (BNC-PDF)) No. of Notices: 0. Notice Date 08/07/2022. (Admin.)
   08/07/2022                                                  (Entered: 08/07/2022)

                                       180                     Appeal transferred notice from BAP to USDC CC-22-1149 on 8/03/2022
                                       (1 pg)                  (RE: related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (GD)
   08/08/2022                                                  Modified on 8/8/2022 (GD). (Entered: 08/08/2022)

                                       181                     Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
   08/08/2022                          (4 pgs)                 Gallian. (Briones, Bert) (Entered: 08/08/2022)




                                                        PACER Service Center
                                                             Transaction Receipt
                                                               08/09/2022 15:31:25
                                   PACER                     Client
                                                  atty107291              9999-001
                                   Login:                    Code:
                                                                         8:21-bk-11710-ES Fil or Ent: filed
                                                                         From: 5/11/2000 To: 8/9/2022 Doc
                                                  Docket       Search
                                   Description:                          From: 0 Doc To: 99999999 Term:
                                                  Report       Criteria:
                                                                         included Format: html Page counts
                                                                         for documents: included
                                   Billable
                                                  19           Cost:      1.90
                                   Pages:




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Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 34 of 44 Page ID #:34




                                                   EXHIBIT 2
       Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 35 of 44 Page ID #:35

8/9/22, 3:42 PM                                                                   22-1146 Docket


                                                                     General Docket
                                                   U. S. Bankruptcy Appellate Panel for the Ninth Circuit
  Bankruptcy Appellate Panel Docket #: 22-1146                                                                         Docketed: 07/22/2022
  Jamie Gallian v. Houser Bros. Co., et al
  Appeal From: California Central - Santa Ana
  Fee Status: fee paid

  Case Type Information:
    1) Bankruptcy
    2) Chapter 7 Non-Business
    3) null

  Originating Court Information:
     District: 0973-8 : 8:21-bk-11710-ES
     Presiding Judge: Erithe A. Smith, U.S. Bankruptcy Judge
     Date Filed: 07/09/2021
     Date NOA Filed:                                                            Date Rec'd BAP:
     07/21/2022                                                                 07/22/2022

  Prior Cases:
     None

  Current Cases:
                             Lead                   Member             Start               End
       Related
                             22-1146                22-1149            07/28/2022
                             22-1146                22-1155            08/05/2022

  Panel Assignment:                Not available



  In re: JAMIE LYNN GALLIAN
               Debtor
  ------------------------------

  JAMIE LYNN GALLIAN                                                           Jamie Lynn Gallian
            Appellant                                                          Direct: 714-321-3449
                                                                               [NTC Pro Se]
                                                                               Unit 376
                                                                               16222 Monterey Lane
                                                                               Huntington Beach, CA 92649
  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates                     David Edward Hays, Esquire, Counsel
           Appellee                                                            Direct: 949-333-7777
                                                                               [COR LD NTC Retained]
                                                                               Marshack Hays LLP
                                                                               870 Roosevelt Avenue
                                                                               Irvine, CA 92620

  JEFFREY IAN GOLDEN, Trustee                                                  Aaron E. DE Leest
            Appellee                                                           Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904

                                                                               Eric P. Israel, Attorney
                                                                               Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904


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                                                                                                           EXHIBIT 2, PAGE 33
       Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 36 of 44 Page ID #:36

8/9/22, 3:42 PM                                               22-1146 Docket

  In re: JAMIE LYNN GALLIAN

                   Debtor

  ------------------------------

  JAMIE LYNN GALLIAN

                   Appellant

  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates; JEFFREY IAN GOLDEN, Trustee

                   Appellees




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                                                                                   EXHIBIT 2, PAGE 34
    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 37 of 44 Page ID #:37

8/9/22, 3:42 PM                                                                22-1146 Docket

  07/22/2022           1             Received notice of appeal filed in Bankruptcy Court on 07/21/2022. (PI) [Entered: 08/02/2022 01:27 PM]
                  6 pg, 2.79 MB

  08/02/2022           2             Filed Party Jamie Lynn Gallian's Motion to Allow Reconsideration Motion to Proceed at Bankruptcy Court.;
                  160 pg, 14.54 MB   filed in bankruptcy court 8/1/22. (PI) [Entered: 08/02/2022 04:39 PM]




https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                                                                      3/4




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    Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 38 of 44 Page ID #:38

8/9/22, 3:42 PM                                                              22-1146 Docket

  Clear All

     Documents and Docket Summary
     Documents Only

     Include Page Numbers

Selected Pages: 0                     Selected Size: 0 KB

  View Selected



                                                         PACER Service Center
                                                               Transaction Receipt
                                                  BAP for the Ninth Circuit - 08/09/2022 15:42:51
                             PACER Login:            atty107291                Client Code:         9999-001
                             Description:            Docket Report (full)      Search Criteria:     22-1146
                             Billable Pages:         1                         Cost:                0.10




https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                                               4/4




                                                                                                    EXHIBIT 2, PAGE 36
Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 39 of 44 Page ID #:39




                                                   EXHIBIT 3
         Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 40 of 44 Page ID #:40



From:                  Ed Hays <EHays@MarshackHays.com>
Sent:                  Wednesday, July 27, 2022 9:20 AM
To:                    Jamie Gallian; Bradford N. Barnhardt; Laila Masud
Subject:               Gallian


Jamie:

Last week, you filed a notice of appeal. An appeal generally divests the trial court from having jurisdiction over the
matters covered in the appealed order. The pendency of the appeal will prevent the court from reaching the merits of
the motion for reconsideration you filed yesterday. A motion for reconsideration is also known as a motion to alter or
amend a judgment.

I suggest that we enter a stipulation that provides that the appeal will be dismissed without prejudice so that the court
can hear your motion for reconsideration. Your time to appeal the original order and any order on reconsideration runs
from the date of entry of the order on reconsideration.

          (1) In General. If a party files in the bankruptcy court any of the following motions and does so within the time
              allowed by these rules, the time to file an appeal runs for all parties from the entry of the order disposing of
              the last such remaining motion:
              ***
              (B) to alter or amend the judgment under Rule 9023;

FRBP 8002.

While we do not believe that the court will grant your motion for reconsideration, we do not object to the court
resolving the motion on the merits.

Please let me know if you agree and, if so, we can send you a proposed stipulation. If you do not agree, then our
opposition to your motion for reconsideration will have to point out to the court that it does not have jurisdiction to
decide the motion.

Thank you.

Ed




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                                                                                        EXHIBIT 3, PAGE 37
Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 41 of 44 Page ID #:41




                                                   EXHIBIT 4
Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 42 of 44 Page ID #:42




                                             2




                                                     EXHIBIT 4, PAGE 38
Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 43 of 44 Page ID #:43




 1                         PROOF OF SERVICE OF DOCUMENT

 2 I am over the age of 18 and not a party to this District Court proceeding. My business

 3 address is: 870 Roosevelt, Irvine, CA 92620.

 4 A true and correct copy of the foregoing document entitled: will be served or was

 5 served (a) on the judge in chambers in the form and manner required by L.R. 5-4 in
     the manner stated below:
 6

 7 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
     FILING (NEF): Pursuant to controlling General Orders and L.R 5-3.3, the foregoing
 8 document will be served by the court via NEF and hyperlink to the document. On

 9 August 9, 2022, I checked the CM/ECF docket for this case and determined that the
     following persons are on the Electronic Mail Notice List to receive NEF transmission
10 at the email addresses stated below:

11                          Service information continued on attached page
12 2. SERVED BY UNITED STATES MAIL: On August 9, 2022, I served the

13 following persons and/or entities at the last known addresses in this case by placing a
     true and correct copy thereof in a sealed envelope in the United States mail, first class,
14 postage prepaid, and addressed as follows. Listing the judge here constitutes a

15 declaration that mailing to the judge will be completed no later than 24 hours after the
     document is filed.
16                          Service information continued on attached page
17
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
18 TRANSMISSION OR EMAIL: Pursuant to F.R.Civ.P. 5 (d)(3) and/or controlling

19 L.R. 5-4, on_________ I served the following persons and/or entities by personal
     delivery, overnight mail service, or (for those who consented in writing to such
20 service method), by facsimile transmission and/or email as follows. Listing the judge

21 here constitutes a declaration that personal delivery on, or overnight mail to, the judge
     will be completed no later than 24 hours after the document is filed.
22

23                          Service information continued on attached page
24
   I declare under penalty of perjury under the laws of the United States that the
25 foregoing is true and correct.

26
   August 9, 2022                     Layla Buchanan          /s/ Layla Buchanan
27 Date                         Printed Name                  Signature
28
Case 8:22-cv-01454-ODW Document 1 Filed 08/09/22 Page 44 of 44 Page ID #:44




 1 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
   FILING (NEF): CONTINUED:
 2 •    Robert P Goe
 3 •    rgoe@goeforlaw.com,kmurphy@goeforlaw.com
   •    D Edward Hays
 4   • ehays@marshackhays.com,kfrederick@ecf.courtdrive.com,cmendoza@ma
 5      rshackhays.com,cmendoza@ecf.courtdrive.com,ehays@ecf.courtdrive.com

 6

 7 2. SERVED BY UNITED STATES MAIL: CONTINUED:

 8 Jamie Lynn Gallian

 9 16222 Monterey Lane Unit 376
     Huntington, CA 92649
10

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